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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                                      )
PHARMACEUTICAL CARE                                   )
MANAGEMENT ASSOCIATION,                               )
                                                      )
                                       Plaintiff,     )
                                                      )
                v.                                    )       No. 1:21-cv-02161-JDB
                                                      )
UNITED STATES DEPARTMENT OF                           )
OF HEALTH AND HUMAN SERVICES, et al.,                 )
                                                      )
                                       Defendants.    )
                                                      )


                     CONSENT MOTION FOR EXTENSION OF TIME

       Defendants, by and through undersigned counsel, respectfully move pursuant to Federal

Rule of Civil Procedure 6(b)(1), for a fourteen-day enlargement of time, up to and including

December 7, 2021, to respond to the Complaint. Defendants respectfully submit that good cause

exists for the requested extension, as explained below:

       1.       Plaintiff filed this action on August 12, 2021, raising challenges under the

Administrative Procedure Act to certain portions of a rule jointly promulgated by the federal

agency defendants. See Complaint, ECF No. 1.

       2.       The Court has granted three short extensions of the deadline to respond to the

Complaint so that the parties could explore the possibility of a negotiated resolution that would

avoid the need for further litigation. The complaint is currently due November 23, 2021.

       3.       Defendants submit that an additional extension of fourteen-days is warranted.

The parties have continued to discuss whether there is a way to resolve this matter. Those


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discussions have made further progress since the last extension, and the parties now believe that

they have reached an understanding that will, once implemented, dispose of the case. Additional

time is needed, however, to finalize relevant details. If, as the parties expect, the case can be

resolved without the need for litigation, it would further the interests of judicial economy and be

a more efficient outcome for the Court and the parties. Accordingly, good cause exists for the

requested extension.

       4.       Pursuant to Local Rule 7(m), the undersigned counsel contacted Plaintiff’s

counsel and was informed that Plaintiff consents to the relief sought in this Motion.

       5.       A proposed order is attached.

       WHEREFORE, Defendant’s motion for a fourteen-day extension of time, up to and

including December 7, 2021, to respond to the Complaint should be granted.




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Dated: November 19, 2021        Respectfully submitted,

                                BRIAN M. BOYNTON
                                Acting Assistant Attorney General

                                ERIC BECKENHAUER
                                Assistant Branch Director
                                Civil Division

                                _/s/ Peter M. Bryce    _____________
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